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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA

PATRICIA KENNEDY, Individually,

Plaintiff,

v.                                              Case No. 8:20-cv-367-WJF-CPT

NISHA, INC., d/b/a LAKE
IDA BEACH RESORT,

Defendants.

_______________________________/

                          AMENDED COMPLAINT
                           Filed as a Matter of Course
                         (Injunctive Relief Demanded)


                Plaintiff, Patricia Kennedy, Individually, on her own behalf and

on behalf of all other individuals similarly situated, (sometimes referred to as

"Plaintiff'), hereby sues the Defendant, Nisha, Inc., d/b/a Lake Ida Beach Resort,

(sometimes referred to as "Defendant"), for Injunctive Relief, and attorney's fees,

litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42

U.S.C. § 12181 et. seq., (“ADA").

1.    Plaintiff is a resident of Broward County, Florida, is sui juris, and qualifies

as an individual with disabilities as defined by the ADA. Plaintiff is unable to

engage in the major life activity of walking more than a few steps without

assistive devices. Instead, Plaintiff is bound to ambulate in a wheelchair or with a
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cane or other support and has limited use of her hands. She is unable to tightly

grasp, pinch and twist of the wrist to operate. Plaintiff is also vision impaired.

When ambulating beyond the comfort of her own home, Plaintiff must primarily

rely on a wheelchair. Plaintiff requires accessible handicap parking spaces located

closest to the entrances of a facility. The handicap and access aisles must be of

sufficient width so that she can embark and disembark from a ramp into her

vehicle. Routes connecting the handicap spaces and all features, goods and

services of a facility must be level, properly sloped, sufficiently wide and without

cracks, holes or other hazards that can pose a danger of tipping, catching wheels

or falling. These areas must be free of obstructions or unsecured carpeting that

make passage either more difficult or impossible. Amenities must be sufficiently

lowered so that Plaintiff can reach them. She has difficulty operating door knobs,

sink faucets, or other operating mechanisms that tight grasping, twisting of the

wrist or pinching. She is hesitant to use sinks that have unwrapped pipes, as such

pose a danger of scraping or burning her legs. Sinks must be at the proper height

SO that she can put her legs underneath to wash her hands. She requires grab bars

both behind and beside a commode so that she can safely transfer and she has

difficulty reaching the flush control if it is on the wrong side. She has difficulty

getting through doorways if they lack the proper clearance.
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2.    Plaintiff is an advocate of the rights of similarly situated disabled persons

and is a "tester" for the purpose of asserting her civil rights and monitoring,

ensuring, and determining whether places of public accommodation and their

websites are in compliance with the ADA.

3.    According to the county property records, Defendant owns a place of

public accommodation as defined by the ADA and the regulations implementing

the ADA. 28 CFR 36.201(a) and 36.104. The place of public accommodation that

the Defendants own is a place of lodging known as Lake Ida Resort and is located

at 2524 Lake Alfred Road, Winter Haven, Florida in the County of Polk.

(hereinafter "Property").

4.    Venue is properly located in the Middle District of Florida because the

injury occurred in this district and the Defendant has its principal place of

business and does business in this district.

5.    Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been

given original jurisdiction over actions which arise from the Defendant’s

violations of Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181

et seq. See also 28 U.S.C. § 2201 and § 2202.

6.    As the owner of the subject place of lodging, Defendant is required to

comply with the ADA. As such, Defendant is required to ensure that their place of

lodging is in compliance with the standards applicable to places of public
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accommodation as set forth in the regulations promulgated by the Department of

Justice. Said regulations are set forth in the Code of Federal Regulations, the

Americans With Disabilities Act Architectural Guidelines ("ADAAGs"), and the

2010 ADA Standards, incorporated by reference into the ADA. These regulations

impose requirements pertaining to places of public accommodation, including

places of lodging, to ensure that they are accessible to disabled individuals.

7.    More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

requirement:

Reservations made by places of lodging. A public accommodation that owns,

leases (or leases to), or operates a place of lodging shall, with respect to

reservations made by any means, including by telephone, in-person, or through a

third party -

(i) Modify its policies, practices, or procedures to ensure that individuals with

disabilities can make reservations for accessible guest rooms during the same

hours and in the same manner as individuals who do not need accessible rooms;

(ii) Identify and describe accessible features in the hotels and guest rooms offered

through its reservations service in enough detail to reasonably permit individuals

with disabilities to assess independently whether a given hotel or guest room

meets his or her accessibility needs;
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(iii) Ensure that accessible guest rooms are held for use by individuals with

disabilities until all other guest rooms of that type have been rented and the

accessible room requested is the only remaining room of that type;

(iv) Reserve, upon request, accessible guest rooms or specific types of guest

rooms and ensure that the guest rooms requested are blocked and removed from

all reservations systems; and

(v) Guarantee that the specific accessible guest room reserved through its

reservations service is held for the reserving customer, regardless of whether a

specific room is held in response to reservations made by others.

8.    These regulations became effective March 15, 2012.

9.    Defendant, either itself or by and through a third party, implemented,

operates, controls and/or maintains websites for the Property which contain online

reservations systems. Its own website is found at Lakeidabeachresort.com. The

third party booking sites at issue here are located at:

https://booking.com/hotel/us/lake-ida-beach-resort.html;

https://www.expedia.com/Lakeland-Winter-Haven-Hotels-Lake-Ida-Beach-

Resort.h32732561.Hotel-Information;

https://www.priceline.com/hotel-deals/h26193803/US/Florida/Winter-

Haven/Lake-Ida-Beach-Resort.html
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https://www.agoda.com/lake-ida-beach-resort/hotel/winter-haven-fl-

us.html?cid=-218.


https://www.hotels.com/ho1048441952/lake-ida-beach-resort-winter-haven-
united-states-of-america/


The purpose of these websites is so that members of the public may reserve guest

accommodations and review information pertaining to the goods, services,

features, facilities, benefits, advantages, and accommodations of the Property. As

such, these websites are subject to the requirements of 28 C.F.R. Section

36.302(e).

10.   Prior to the commencement of this lawsuit, specifically on August 18,

August 25, August 27, August 28, September 1, September 5, September 7, and

October 25, 2019, Plaintiff visited the websites for the purpose of reviewing and

assessing the accessible features at the Property and ascertain whether they meet

the requirements of 28 C.F.R. Section 36.302(e) and her accessibility needs.

However, Plaintiff was unable to do so because Defendant failed to comply with

the requirements set forth in 28 C.F.R. Section 36.302(e). As a result, Plaintiff

was deprived the same goods, services, features, facilities, benefits, advantages,

and accommodations of the Property available to the general public.
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11. Each of the third party booking sites identified above fail to identify or

allow for booking accessible rooms and provide insufficient information about

accessibility.

12. The Defendant’s own website was recently modified in response to litigation

by doing no more than identifying a single room as “accessible,” but still fails to

provide sufficient information about what features in the room are accessible, why

any such features are accessible, or whether any other feature at the hotel is

accessible.

13.   In the near future, Plaintiff intends to revisit the websites and/or online

reservations systems in order to test them for compliance with 28 C.F.R. Section

36.302(e) and/or to utilize the websites to reserve a guest room and otherwise

avail herself of the goods, services, features, facilities, benefits, advantages, and

accommodations of the Property.

14.   Plaintiff is continuously aware that the subject websites remain non-

compliant and that it would be a futile gesture to revisit the websites as long as

those violations exist unless she is willing to suffer additional discrimination.

15.   The violations present at the websites infringes Plaintiffs right to travel free

of discrimination and deprive her of the information required to make meaningful

choices for travel. Plaintiff has suffered, and continues to suffer, frustration and

humiliation as the result of the discriminatory conditions present at the websites.
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By continuing to operate or utilize the websites with discriminatory conditions,

Defendant contributes to Plaintiffs sense of isolation and segregation and deprives

Plaintiff the full and equal enjoyment of the goods, services, facilities, privileges

and/or accommodations available to the general public. By encountering the

discriminatory conditions at the websites, and knowing that it would be a futile

gesture to return to the websites unless she is willing to endure additional

discrimination, Plaintiff is deprived of the same advantages, privileges, goods,

services and benefits readily available to the general public. By maintaining or

utilizing websites with violations, Defendant deprives Plaintiff the equality of

opportunity offered to the general public. The online reservations systems serve

as a gateway to its hotel. Because the online reservations system discriminate

against Plaintiff, it is thereby more difficult to book a room at the hotel or make

an informed decision as to whether the facilities at the hotel are accessible.

16.   Plaintiff has suffered and will continue to suffer direct and indirect injury

as a result of the Defendant’s discrimination until the Defendant is compelled to

modify the websites to comply with the requirements of the ADA and to

continually monitor and ensure that the subject websites remain in compliance.

17.   Plaintiff has a realistic, credible, existing and continuing threat of

discrimination from the Defendant’s non-compliance with the ADA with respect

to these websites. Plaintiff has reasonable grounds to believe that she will
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continue to be subjected to discrimination in violation of the ADA by the

Defendant.

18.   The Defendant has discriminated against the Plaintiff by denying her access

to, and full and equal enjoyment of, the goods, services, facilities, privileges,

advantages and/or accommodations of the subject websites.

19.   The Plaintiff and all others similarly situated will continue to suffer such

discrimination, injury and damage without the immediate relief provided by the

ADA as requested herein.

20.   Defendant has discriminated against the Plaintiff by denying her access to

full and equal enjoyment of the goods, services, facilities, privileges, advantages

and/or accommodations of its place of public accommodation or commercial

facility in violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e).

Furthermore, the Defendant continues to discriminate against the Plaintiff, and all

those similarly situated by failing to make reasonable modifications in policies,

practices or procedures, when such modifications are necessary to afford all

offered goods, services, facilities, privileges, advantages or accommodations to

individuals with disabilities; and by failing to take such efforts that may be

necessary to ensure that no individual with a disability is excluded, denied

services, segregated or otherwise treated differently than other individuals

because of the absence of auxiliary aids and services.
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21.   Plaintiff is without adequate remedy at law and is suffering irreparable

harm. Plaintiff has retained the undersigned counsel and is entitled to recover

attorney's fees, costs and litigation expenses from the Defendant pursuant to 42

U.S.C. § 12205 and 28 CFR 36.505.

22.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to

grant Plaintiff Injunctive Relief, including an order to require the Defendant to

alter the subject websites to make them readily accessible and useable to the

Plaintiff and all other persons with disabilities as defined by the ADA and 28

C.F.R. Section 36.302(e); or by closing the websites until such time as the

Defendants cure their violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

a.    The Court issue a Declaratory Judgment that determines that the Defendant

at the commencement of the subject lawsuit is in violation of Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section

36.302(e).

b.    Injunctive relief against the Defendant including an order to revise their

websites to comply with 28 C.F.R. Section 36.302(e) and to implement a policy to

monitor and maintain the websites to ensure that it remains in compliance with

said requirement.
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C.    An award of attorney's fees, costs and litigation expenses pursuant to 42

U.S.C. § 12205.

d.    Such other relief as the Court deems just and proper, and/or is allowable

under Title III of the Americans with Disabilities Act.

          I HEREBY CERTIFY that, on March 13, 2020, I electronically filed

the foregoing with the Clerk of the Court using the CM/ECF system which will

automatically send e-mail notification of such filing to the attorneys of record.




                                     /s/Philip Michael Cullen, III
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